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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SCOTT JOHNSON,                                      Case No. 20-cv-06801-JST
                                                       Plaintiff,
                                   8
                                                                                            ORDER TO SHOW CAUSE
                                                v.
                                   9

                                  10    ROBERT M. STEWART,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The parties have failed to comply with the Court’s order to file, by July 27, 2021, a notice

                                  14   of settlement, notice of mediation, or joint statement explaining why neither notice could be filed.

                                  15   ECF No. 24. Plaintiff is ordered to show cause in writing by August 6, 2021, as to why this case

                                  16   should not be dismissed for failure to prosecute. Failure to file a timely response to this order to

                                  17   show cause will result in dismissal of this case with prejudice.

                                  18          IT IS SO ORDERED.

                                  19   Dated: July 30, 2021
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                  21                                                            United States District Judge

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